                 Case 8:23-bk-02545-CPM                  Doc 10        Filed 07/06/23         Page 1 of 1

[Doess13p] [District Order Granting Motion to Extend Time to File Schedules, Statements, or Chapter 13 Plan]




                                            ORDERED.
Dated: July 6, 2023




                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                              TAMPA DIVISION
                                             www.flmb.uscourts.gov



In re:                                                                           Case No.
                                                                                 8:23−bk−02545−CPM
                                                                                 Chapter 7

Repair Guy One LLC




________Debtor*________/

                               ORDER GRANTING MOTION TO EXTEND TIME
                                 TO FILE SCHEDULES AND STATEMENTS

   THIS CASE came on for consideration, without hearing, of the Debtor's Motion to Extend Time to File
Schedules and Statements (Document No. 8) (the "Motion"). After reviewing the Motion, it is

   ORDERED:

   1. The Motion is GRANTED.

   2. Debtor shall file all needed Schedules and Statements by July 13, 2023.

Marshall Reissman is directed to serve a copy of this order on interested parties who do not receive service by
CM/ECF and file a Proof of Service within 3 days of entry of the order.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
